 Case 19-42491-bem             Doc 15 Filed 02/12/20 Entered 02/13/20 01:17:50                           Desc Imaged
                                    Certificate of Notice Page 1 of 4
                              UNITED STATES BANKRUPTCY COURT

                                       Northern District of Georgia

In     Debtor(s)
Re:    Amy Darlene Hughes                                     Case No.: 19−42491−bem
       4756 Tree Top Lane                                     Chapter: 7
       Cohutta, GA 30710                                      Judge: Barbara Ellis−Monro

       xxx−xx−9839



  DISCHARGE OF DEBTOR(S) WITH ORDER APPROVING TRUSTEE'S REPORT OF NO
         DISTRIBUTION, CLOSING ESTATE AND DISCHARGING TRUSTEE



     It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is granted a
discharge under section 727 of title 11, United States Bankruptcy Code, (the Bankruptcy Code).

     It further appears that the trustee in the above styled case has filed a report of no distribution and
said Trustee has performed all other and further duties required in the administration of said estate;
accordingly, it is hereby

 ORDERED that the said estate is closed; that the Trustee is discharged from and relieved of said trust.




                                                              Barbara Ellis−Monro
                                                              United States Bankruptcy Judge



Dated: February 10, 2020

Form 182




                   SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION
                  REGARDING THE BANKRUPTCY DISCHARGE IN A CHAPTER 7 CASE
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                                    Certificate of Notice Page 2 of 4
FORM 182 continued
                 EXPLANATION OF BANKRUPTCY DISCHARGE IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.
      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

      This discharge does not affect any property of the estate as defined by section 541 of the Bankruptcy Code, and
the automatic stay of section 362(a) of the Bankruptcy Code continues to apply to any property of the estate unless
and until the automatic stay has been terminated by order of the court or expires pursuant to section 362(c) of the
Bankruptcy Code. Such property remains subject to administration by the trustee on behalf of the bankruptcy estate.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

     Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

     a. Debts for most taxes;
     b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);
     c. Debts that are domestic support obligations;
     d. Debts for most student loans;
     e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;
     f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
        while intoxicated;
     g. Some debts which were not properly listed by the debtor;
     h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
        discharged;
     i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
        compliance with the Bankruptcy Code requirements for reaffirmation of debts.
      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
        Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
     2005).


       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.

     This Bankruptcy Discharge is an important document that you should retain in the event a copy is
needed in the future. If you request a copy from the Clerk's Office at a later date, you will be required to pay a
fee.
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                                      United States Bankruptcy Court
                                      Northern District of Georgia
In re:                                                                                  Case No. 19-42491-bem
Amy Darlene Hughes                                                                      Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 113E-6           User: admin                  Page 1 of 2                   Date Rcvd: Feb 10, 2020
                               Form ID: 182                 Total Noticed: 44


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 12, 2020.
db             +Amy Darlene Hughes,    4756 Tree Top Lane,    Cohutta, GA 30710-9708
22713778       +08 HSBC Bank Nevada NA,    1111 B Town Center Drive,     Las Vegas, NV 89144
22711021       +Absolute Resolution Investment, LLC,     1455 Frazee Rd.,    San Diego, CA 92108-4301
22710948       +Acceptance Insurance,    PO Box 23410,    Nashville, TN 37202-3410
22710832       +CenLar,    P.O. Box 77404,   Ewing, NJ 08628-6404
22710833       +Credit One Bank,    Visa MC,    335 Madison Ave.,    New York, NY 10017-4611
22710946       +Dalton Utilities,    PO Box 869,    Dalton, GA 30722-0869
22713761       +Fortiva,    5 Concourse Pkwy, #300,    Atlanta, GA 30328-6101
22711022       +Fortiva,    The Queen Building,    5 Concourse Pkwy, #300,    Atlanta, GA 30328-6101
22710947       +GA Farm Bureau,    Josh R. Bowen,    PO Box 429,    Dalton, GA 30722-0429
22713772       +GA Farm Bureau,    PO Box 429,    Dalton, GA 30722-0429
22713807       +LVNV Funding LLC,    PO Box 3038,    Evansville, IN 47730-3038
22711026       +Lending Club Corporation,    370 Convention Way,     Redwood City, CA 94063-1405
22710944        NGEM Corp,    PO Box 1407,   Dalton, GA 30722-1407
22713753       +RiseCredit.com,    P.O. Box 679900,    Dallas, TX 75267-9904
22711028       +Synchrony Bank,    LVNV Funding LLC,    P.O. Box 3038,    Evansville, IN 47730-3038
22711065        Tracefone,    Lago Zurich 245, Plaza,    Carso/Edificio Telcel,,
                 Piso 4 16 Colonia Ampliacion Granda,     1152 Mexico City, Mexico
22713776        Tracefone,    16 Colonia Ampliacion Granada,     Miguel Hidalgo,   Mexico City, Mexico 11529
22710945       +Windstream,    Dish/Phone/Internet,    1720 Galleria Blvd,    Charlotte, NC 28270-2408
22713768       +Windstream Communication,    1720 Galleria Blvd.,     Charlotte, NC 28270-2408

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: FTLMONTZ.COM Feb 11 2020 03:18:00       Tracey L. Montz,     Suite 108-#406,
                 2146 Roswell Road,    Marietta, GA 30062-3815
cr             +EDI: RMSC.COM Feb 11 2020 03:19:00       Synchrony Bank,     c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
22713727       +E-mail/Text: bk@avant.com Feb 10 2020 23:10:46        Avant,    640 N. LaSalle Dr.,    Suite 535,
                 Chicago, IL 60654-3731
22711024        EDI: CAPITALONE.COM Feb 11 2020 03:19:00       Capital One,     15000 Capital One D,
                 Richmond, VA 23238-1119
22711023       +EDI: CAPITALONE.COM Feb 11 2020 03:19:00       Capital One,     1680 Capital 1 Dive,
                 McLean, VA 22102-3407
22711029        E-mail/PDF: creditonebknotifications@resurgent.com Feb 10 2020 23:01:30          Credit One Bank,
                 Visa MC,   Payment Services,    P.O. Box 60500,     City of Industry, CA 91716-0500
22710831        EDI: USBANKARS.COM Feb 11 2020 03:18:00       Elan Financial Svcs. (TVA),      800 Nicollet Mall,
                 Minneapolis, MN 55402-7000
22711030        E-mail/Text: bncnotices@becket-lee.com Feb 10 2020 23:08:52         Kohls Department Store,
                 Kohl’s Payment Center,    PO Box 2983,    Milwaukee, WI 53201-2983
22710868       +E-mail/Text: bncnotices@becket-lee.com Feb 10 2020 23:08:53         Kohls Department Store,
                 N56W17000 Ridgewood Dr,    Menomonee Falls, WI 53051-7096
22713764       +E-mail/Text: bncnotices@becket-lee.com Feb 10 2020 23:08:53         Kohls Department Store,
                 PO Box 2983,   Milwaukee, WI 53201-2983
22713767       +E-mail/Text: bankruptcynotices@ngemc.com Feb 10 2020 23:09:30
                 North Georgia Electric Membership Corp,     P.O. Box 1407,     Dalton, GA 30722-1407
22711018        EDI: PRA.COM Feb 11 2020 03:18:00       Portfolio Recovery Associates, LLC,      NMLS ID:934179,
                 140 Corporate Blvd,    Norfolk, VA 23502-4952
22711017        EDI: PRA.COM Feb 11 2020 03:18:00       Portfolio Recovery Associates, LLC,      PO Box 12914,
                 Norfolk, VA 23541
22711535       +EDI: PRA.COM Feb 11 2020 03:18:00       PRA Receivables Management, LLC,      PO Box 41021,
                 Norfolk, VA 23541-1021
22710869        EDI: RMSC.COM Feb 11 2020 03:19:00       SYNCB/Amazon PLCC,     P.O. Box 960013,
                 Orlando, FL 32896-0013
22711027        EDI: RMSC.COM Feb 11 2020 03:19:00       SYNCB/Chevron Bank,     P.O. Box 965015,
                 Orlando, FL 32896-5002
22713756       +EDI: RMSC.COM Feb 11 2020 03:19:00       SYNCB/Chevron DC/,     Synchrony Bank,    P.O. Box 965015,
                 Orlando, FL 32896-5015
22710943       +EDI: RMSC.COM Feb 11 2020 03:19:00       SYNCB/Paypal CC,     P.O. Box 965005,
                 Orlando, FL 32896-5005
22711025       +EDI: RMSC.COM Feb 11 2020 03:19:00       SYNCB/Sams,    PO Box 965005,    Orlando, FL 32896-5005
22713758       +EDI: RMSC.COM Feb 11 2020 03:19:00       SYNCB/Synchrony MC,     P.O. Box 965015,
                 Orlando, FL 32896-5015
22713783       +EDI: RMSC.COM Feb 11 2020 03:19:00       SYNCB/Walmart,    P.O. Box 965030,
                 Orlando, FL 32896-5030
22713788       +EDI: RMSC.COM Feb 11 2020 03:19:00       Synchrony Bank,     P.O. Box 965005,
                 Orlando, FL 32896-5005
22711020        EDI: RMSC.COM Feb 11 2020 03:19:00       Synchrony/Bright Banking/Walmart,      P.O. Box 965030,
                 Orlando, FL 32896-5030
22710949       +E-mail/Text: PSANE@WHITFIELDCOUNTYGA.COM Feb 10 2020 23:11:11
                 Whitfield County Tax Commissioner,     205 N. Selvidge St., Suite J,     Dalton, GA 30720-4298
                                                                                                 TOTAL: 24
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                                      Form ID: 182                       Total Noticed: 44


             ***** BYPASSED RECIPIENTS (continued) *****

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
22711019*       ++PORTFOLIO RECOVERY ASSOCIATES LLC,   PO BOX 41067,   NORFOLK VA 23541-1067
                 (address filed with court: Portfolio Recovery Associates, LLC,    PO Box 12914,
                   Norfolk, VA 23541)
22711031       ##+Aloirav, LLC,   DBA Basix,   6636 Hollywood Blvd.,   Los Angeles, CA 90028-6208
                                                                                              TOTALS: 0, * 1, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 12, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 10, 2020 at the address(es) listed below:
              Office of the United States Trustee   ustpregion21.at.ecf@usdoj.gov
              Tracey L. Montz   traceymontz@yahoo.com, tlm@trustesolutions.net
                                                                                            TOTAL: 2
